Case 2:05-cr-20200-SH|\/| Document 8 Filed 06/15/05 Page 1 of 2 Page|D 9

 

 

 

IN THE UNITED STATES DISTRICT COURT i-'~l!,.,¢;t;¢ W L`J.C.
FOR THE WESTERN DISTRICT OF TENNESSEE r_ v _
WESTERN DIVISION fla alia l 5 Pe. 3= tr f
c..'.r : y _1 --1'. ;J'; trw-will
, “ci)_`e"r;é§:_, o_s. n:sr. c'r.
UNITED STATES OF AMERICA {;, W_D_ fill `§":'»l. l-£EMF'HW
V.
ANDRE ADAMS 05cr20200-Ma
a/k/a Andre Wrister
ORDER ON ARRAIGNMENT
This cause came to be heard on Q<éjé£ g 5 j; ZQQ § the United States Attorney
for this district appeared on behalf of the go mment, and the defendant appeared in person and With
counsel:

l
NAME y w Who is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

 

All motions shall be filed Within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, who is not in stody, may stand on his resent bond.
l/Tlie defendant, (not hav}ng/rcr:rde bond) (being a ?zé€)risoner) (being a federal

prisoner) (being held Without bond pursuant to BRA of 1 84), is remanded to the custody

of the U.S. Marshal. M

UNITED STATES MAGISTRATE ]UDGE

CHARGES ~ 18:922g
firearms

Attorney assigned to Case: E. Giiluly
Age: 55

'ms document entered on the docket sheet ’n com

Nance
mm Hu|e 55 and/or 32(b) FFlCrP on vi

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-20200 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

l\/lemphis7 TN 38103

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

